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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

JESSICA BLINKHORN,                    )
                                      )
      Plaintiff,                      )
                                      )         CIVIL ACTION
v.                                    )
                                      )         FILE No. _____________________
AUSTIN & GRACE LLC,                   )
DOROTHY S. MCKAY and                  )
J.M. SPIVEY,                          )
                                      )
      Defendants.                     )

                                  COMPLAINT

      COMES NOW, JESSICA BLINKHORN, by and through the undersigned

counsel, and files this, her Complaint against Defendants AUSTIN & GRACE

LLC, DOROTHY S. MCKAY and J.M. SPIVEY pursuant to the Americans with

Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”) and the ADA’s Accessibility

Guidelines, 28 C.F.R. Part 36 (“ADAAG”). In support thereof, Plaintiff

respectfully shows this Court as follows:

                         JURISDICTION AND VENUE

      1.     This Court has original jurisdiction over the action pursuant to 28

U.S.C. §§ 1331 and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et

seq., based upon Defendants’ failure to remove physical barriers to access and


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violations of Title III of the ADA.

       2.     Venue is proper in the federal District Court for the Northern District

of Georgia, Atlanta Division.

                                      PARTIES

       3.     Plaintiff Jessica Blinkhorn (hereinafter “Plaintiff”) is, and has been at

all times relevant to the instant matter, a natural person residing in Atlanta, Georgia

(Fulton County).

       4.     Plaintiff suffers from Spinal Muscular Atrophy (“SMA”) and is

disabled as defined by the ADA.

       5.     Plaintiff is required to traverse in a wheelchair and is substantially

limited in performing one or more major life activities, including but not limited

to: walking, standing, grabbing, grasping and pinching.

       6.     Plaintiff cannot walk and uses a wheelchair for mobility purposes.

       7.     Defendant Austin & Grace LLC (hereinafter “A&G”) is a Georgia

limited liability company that transacts business in the state of Georgia and within

this judicial district.

       8.     A&G is the lessee (or sub-lessee) of a portion of the real property and

improvements that are the subject of this action. (The two separate structures and

improvements situated upon said real property are referenced herein as the “Good


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Times Facility” and the “Shopping Center Facility” (together, the “Facilities”), and

said parcel of real property shall be referenced as the “Property.”)

      9.     A&G may be properly served with process via its registered agent for

service, to wit: Chi Hun Kim, 4600 Parkview Walk Drive, Lilburn, Georgia,

30047.

      10.    Defendant Dorothy S. McKay (hereinafter “McKay”) is an individual

whom, upon information and good faith belief, has been a resident of the state of

Georgia at all times relevant hereto.

      11.    McKay is a co-owner of the Facilities and Property.

      12.    McKay may be properly served with process at 1567 Sagewood

Circle, Stone Mountain, Georgia 30083-1205.

      13.    Defendant J.M. Spivey (hereinafter “Spivey”) is an individual whom,

upon information and good faith belief, has been a resident of the state of Georgia

at all times relevant hereto.

      14.    Spivey is a co-owner of the Facilities and Property.

      15.    Spivey may be properly served with process at 1567 Sagewood

Circle, Stone Mountain, Georgia 30083-1205.

                            FACTUAL ALLEGATIONS

      16.    On multiple occasions, including but not limited to July 9, 2018 and


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February 26, 2021, Plaintiff was a customer at “Good Times Country Home

Cookin’,” a business located at 449 N. Indian Creek Drive, Clarkston, Georgia,

30021.

      17.    Plaintiff lives approximately ten (10) miles from the Facilities and

Property.

      18.    Plaintiff’s access to the businesses located at 447 N. Indian Creek

Drive, Clarkston, Georgia, 30021 (DeKalb County Property Appraiser’s parcel

number 18 044 02 010, and of which 449 N. Indian Creek Drive is a part), and/or

full and equal enjoyment of the goods, services, foods, drinks, facilities, privileges,

advantages and/or accommodations offered therein were denied and/or limited

because of her disabilities, and she will be denied and/or limited in the future

unless and until Defendants are compelled to remove the physical barriers to

access and correct the ADA violations that exist at the Facilities and Property,

including those set forth in this Complaint.

      19.    Plaintiff has visited the Facilities and Property several times and

intends on revisiting the Facilities and Property once they are made accessible.

      20.    Plaintiff intends to revisit the Facilities and Property to purchase

goods and/or services.

      21.    Plaintiff travelled to the Facilities and Property as a customer and as


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an advocate for the disabled, encountered the barriers to her access of the Facilities

and Property that are detailed in this Complaint, engaged those barriers, suffered

legal harm and legal injury, and will continue to suffer such harm and injury as a

result of the illegal barriers to access present at the Facilities and Property.

                               COUNT I
                   VIOLATIONS OF THE ADA AND ADAAG

      22.    On July 26, 1990, Congress enacted the Americans with Disabilities

Act 42 U.S.C. § 12101 et seq. (the “ADA”).

      23.     The ADA provided places of public accommodation one and a half

years from its enactment to implement its requirements.

      24.    The effective date of Title III of the ADA was January 26, 1992 (or

January 26, 1993 (if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181; 28 C.F.R. § 36.508(a).

      25.    Each Facility is a public accommodation and service establishment.

      26.    The Property is a public accommodation and service establishment.

      27.    Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991,

the Department of Justice and Office of Attorney General promulgated federal

regulations to implement the requirements of the ADA. 28 C.F.R. Part 36.

      28.    Public accommodations were required to conform to these regulations

by January 26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer

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employees and gross receipts of $500,000 or less). 42 U.S.C. § 12181 et seq.; 28

C.F.R. § 36.508(a).

      29.    Liability for violations under Title III or the ADA falls on “any person

who owns, leases (or leases to), or operates a place of public accommodation.” 42

U.S.C. § 12182(a).

      30.    Each Facility must be, but each is not, in compliance with the ADA

and ADAAG.

      31.    The Property must be, but is not, in compliance with the ADA and

ADAAG.

      32.     Plaintiff has attempted to, and has to the extent possible, accessed the

Facilities and the Property in her capacity as a customer of the Facilities and

Property, and as an advocate for the disabled, but could not fully do so because of

her disabilities resulting from the physical barriers to access, dangerous conditions

and ADA violations that exist at the Facilities and Property that preclude and/or

limit her access to the Facilities and Property and/or the goods, services, facilities,

privileges, advantages and/or accommodations offered therein, including those

barriers, conditions and ADA violations more specifically set forth in this

Complaint.

      33.    Plaintiff intends to visit the Facilities and Property again in the future


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as a customer and as an advocate for the disabled in order to utilize all of the

goods, services, facilities, privileges, advantages and/or accommodations

commonly offered at the Facilities and Property, but will be unable to fully do so

because of her disability and the physical barriers to access, dangerous conditions

and ADA violations that exist at the Facilities and Property that preclude and/or

limit her access to the Facilities and Property and/or the goods, services, facilities,

privileges, advantages and/or accommodations offered therein, including those

barriers, conditions and ADA violations more specifically set forth in this

Complaint.

      34.    Defendants have each discriminated against Plaintiff (and others with

disabilities) by denying her access to, and full and equal enjoyment of the goods,

services, facilities, privileges, advantages and/or accommodations of the Facilities

and Property, as prohibited by, and by failing to remove architectural barriers as

required by, 42 U.S.C. § 12182(b)(2)(A)(iv).

      35.    Defendants will continue to discriminate against Plaintiff and others

with disabilities unless and until Defendants are compelled to remove all

physical barriers that exist at the Facilities and Property, including those

specifically set forth herein, and make the Facilities and Property accessible to and

usable by Plaintiff and other persons with disabilities.


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      36.     A specific list of unlawful physical barriers, dangerous conditions and

ADA violations which Plaintiff experienced and/or observed that precluded and/or

limited Plaintiff’s access to the Facilities and Property and the full and equal

enjoyment of the goods, services, facilities, privileges, advantages and

accommodations of the Facilities and Property include, but are not limited to:

      (a)     EXTERIOR ACCESSIBLE ELEMENTS:

      (i)     The total number of accessible parking spaces on the Property

              is inadequate, in violation of section 208.2 of the 2010 ADAAG

              standards.

      (ii)    The accessible parking spaces on the Property most proximate

              to the Good Times Facility are missing proper identification

              signage, in violation of section 502.6 of the 2010 ADAAG

              standards.

      (iii)   The accessible parking spaces on the Property do not have

              adjacent access aisles, in violation of section 502.3 of the 2010

              ADAAG standards.

      (iv)    There is an excessive vertical rise on the accessible route

              leading to the outside seating area of the Good Times Facility,

              in violation of section 303.2 of the 2010 ADAAG standards.


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(v)    The Good Times Facility lacks at least 5% (five percent) of the

       exterior dining surfaces provided for consumption of food or

       drink which complies with section 902.2 requiring appropriate

       knee and toe clearance complying with 306 positioned for a

       forward approach, in violation of section 226.1 of the 2010

       ADAAG standards.

(vi)   The Property lacks an accessible route from accessible parking

       spaces along the Shopping Center Facility, accessible passenger

       loading zones, public streets, sidewalks and/or public

       transportation stops to the accessible entrances of the Facility,

       in violation of section 206.2.1 of the 2010 ADAAG standards.

(vii) Further, due to a lack of parking stops on the Property along the

       Shopping Center Facility, vehicles are encouraged to pull up far

       enough to block the accessible route to the entrances of the

       Shopping Center Facility, resulting in publicly accessible areas

       of the Property with accessible routes that have clear widths

       below the minimum 36 (thirty-six) inches required by section

       403.5.1 of the 2010 ADAAG standards.

(viii) The walking surfaces of the accessible route on the Property


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       along the Shopping Center Facility have a slope in excess of

       1:20 (one to twenty), in violation of section 403.3 of the 2010

       ADAAG standards.

(ix)   The ground surfaces of the accessible route on the Property

       along the Shopping Center Facility have vertical rises in excess

       of ¼ (one quarter) inch in height, are not stable or slip resistant,

       have broken or unstable surfaces or otherwise fail to comply

       with section 302 and 303 of the 2010 ADAAG standards.

(b)    INTERIOR ACCESSIBLE ELEMENTS:

(i)    The Good Times Facility lacks at least 5% (five percent) of the

       interior dining surfaces provided for consumption of food or

       drink that comply with section 902.2 of the 2010 ADAAG

       standards, requiring appropriate knee and toe clearance

       complying with section 306 of the 2010 ADAAG standards,

       positioned for a forward approach, in violation of section 226.1

       of the 2010 ADAAG standards.

(ii)   The Good Times Facility does not have restrooms signage that

       complies with sections 216.8 and 703 of the 2010 ADAAG

       standards.


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(iii)   The door of the restroom entrance of the Good Times Facility

        lacks a permissible minimum maneuvering clearance upon

        exiting, in violation of section 404.2.4 of the 2010 ADAAG

        standards.

(iv)    The door to the restrooms in the Good Times Facility has a

        clear width below 32” (thirty-two inches), in violation of

        section 404.2.3 of the 2010 ADAAG standards.

(v)     The restrooms in the Good Times Facility lack proper door

        hardware, in violation of section 404.2.7 of the 2010 ADAAG

        standards.

(vi)    There are no grab bars adjacent to the commodes in the

        accessible toilet stalls in the restrooms in the Good Times

        Facility, in violation of section 604.5 of the 2010 ADAAG

        standards.

(vii) There is inadequate clear turning space in the restrooms in the

        Good Times Facility, in violation of section 603.2.1 of the 2010

        ADAAG standards.

(viii) The paper towel dispensers and automated hand drying devices

        in the restrooms in the Good Times Facility are located outside


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             the prescribed vertical reach ranges set forth in section 308.2.1

             of the 2010 ADAAG standards.

      (ix)   The lavatories and/or sinks in the restrooms in the Good Times

             Facility have exposed pipes and surfaces thereunder and are not

             insulated or configured to protect against skin contact, in

             violation of section 606.5 of the 2010 ADAAG standards.

      (x)    The mirrors in the restrooms in the Good Times Facility exceed

             the maximum permissible height set forth in section 603.3 of

             the 2010 ADAAG standards.

      37.    Without limitation, the above-described violations of the ADAAG

made it more difficult for Plaintiff to locate and utilize a disabled accessible

parking space on the Property, more difficult for Plaintiff to exit and re-enter her

vehicle while on the Property, more difficult for Plaintiff to travel upon the

accessible routes on the Property, and rendered the restrooms in the Good Times

Facility entirely inaccessible to Plaintiff.

      38.    The violations enumerated above may not be a complete list of the

barriers, conditions or violations encountered by Plaintiff and/or that exist at the

Facilities and Property.

      39.    Plaintiff requires an inspection of the Facilities and Property in order


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to determine all of the discriminatory conditions present at the Facilities and

Property in violation of the ADA.

      40.   The removal of the physical barriers, dangerous conditions and ADA

violations alleged herein is readily achievable and can be accomplished and carried

out without significant difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42

U.S.C. § 12181(9); 28 C.F.R. § 36.304.

      41.    All of the violations alleged herein are readily achievable to modify

to bring the Facilities and Property into compliance with the ADA.

      42.   Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facilities and Property is readily

achievable because the nature and cost of the modifications are relatively low.

      43.   Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facilities and Property is readily

achievable because Defendants each have the financial resources to make the

necessary modifications.

      44.   In instances where the 2010 ADAAG standards do not apply, the 1991

ADAAG standards apply, and all of the alleged violations set forth herein can be

modified to comply with the 1991 ADAAG standards.

      45.   Plaintiff is without adequate remedy at law, is suffering irreparable


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harm, and reasonably anticipates that she will continue to suffer irreparable harm

unless and until Defendants are required to remove the physical barriers, dangerous

conditions and ADA violations that exist at the Facilities and Property, including

those alleged herein.

       46.   Plaintiff’s requested relief serves the public interest.

       47.   The benefit to Plaintiff and the public of the relief outweighs any

resulting detriment to Defendants.

       48.   Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees

and costs of litigation from Defendants pursuant to 42 U.S.C. §§ 12188 and 12205.

       49.   Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to

grant injunctive relief to Plaintiff, including the issuance of an Order directing

Defendants to modify the Facilities and Property to the extent required by the

ADA.

       WHEREFORE, Plaintiff prays as follows:

       (a)   That the Court find Austin & Grace LLC in violation of the ADA and

             ADAAG;

       (b)   That the Court find Dorothy S. McKay in violation of the ADA and

             ADAAG;

       (c)   That the Court find J.M. Spivey in violation of the ADA and


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      ADAAG;

(d)   That the Court issue a permanent injunction enjoining Defendant from

      continuing its discriminatory practices;

(e)   That the Court issue an Order requiring Defendant to (i) remove the

      physical barriers to access and (ii) alter the subject Facilities and

      Property to make them readily accessible to, and useable by,

      individuals with disabilities to the extent required by the ADA;

(f)   That the Court award Plaintiff’s counsel reasonable attorneys' fees,

      litigation expenses and costs; and

(g)   That the Court grant such further relief as deemed just and equitable

      in light of the circumstances.

                                Dated: September 28, 2021.

                                Respectfully submitted,

                                /s/Craig J. Ehrlich
                                Craig J. Ehrlich
                                Georgia Bar No. 242240
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        CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 5.1

      The undersigned hereby certifies that the foregoing document has been

prepared in accordance with the font type and margin requirements of Local Rule

5.1 of the Northern District of Georgia, using a font type of Times New Roman

and a point size of 14.

                                    /s/Craig J. Ehrlich
                                    Craig J. Ehrlich




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